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         L?*C=*(D077KL?*>G*CDLD;L'*L&)94DD*)LD;L=?&(D4(*L4:LD3*L:4D*)LD&D*CL&:5?G=D(KL;G?DL-<?L
  D3*L;AF3*BL4CD?4(DL;,L*J&CL/?LD34CL(&GC*L;:7KL

          L(*@E41LD3&DLL3&H*L?*&)L       L
  LL  LLL*JL LL*:L'&:+L&:)LD3*L7;(&7L(4H48L&:)L'&:6?G=D(KL?G7*CL;,LD34CL(;GAEL&:)L
  I477L(;9=7KLI4D3LD3*LCD&:)&?)CL;,L=?&(D4(*L&);=D*)L4:L &:)LI4D3LD3*L7;(&8L(4H47L&:)L
  '&:6?G=D(KL?G7*CL

         ✔
          L&9L&:LL.7*?L L &7C;L(*@D4,KLD3&DLL3&H*LC*?H*)L&LD?G*L&:)L(;?@*(DL(;=KL;,LD34CL
  );(G9*:DLG=;:L*&(3L&DD;B*KL;,L?*(;?)L&:)L.7*)LD3*L&==74(&D4;:LH4&LLI4D3LD3*L=&K9*:DL;,L
   L

         L&9L:;DL&:LL.8*?L L&8C;L(*@E41LD3&DLL3&H*LC*?H*)L&LD?G*L&:)L(;??*(DL(;=KL;,LD34CL
  );(G9*:DLG=;:L*&(3L&DD;B*KL;,L?*(;?)L&:)LD3*L;?424:&7LG=;:LD3*LL&:5?G=D(KL;G@DL
  &((;9=&:4*)LI4D3LD3*L LLL.74:2L,**L;:L !!"#$L %L



   *::4CLLI;9*KL
   ?4:D*)L&9*L;,L==74(&:DL
